Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 1 of 19 PageID #: 49




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 ANDREW M. CUOMO,                                               :
                                                                :
                                     Movant,                    : 1:22-mc-03044 (LDH)(TAM)
                                                                :
          - against -                                           :
                                                                :
 OFFICE OF THE NEW YORK STATE                                   :
 ATTORNEY GENERAL,                                              :
                                                                :
                                     Defendant.                 :
 ---------------------------------------------------------------X

        I, SERENA LONGLEY, an attorney admitted to practice before this Court, hereby declare

 under penalty of perjury pursuant to 28 U.S.C. §1746 as follows:

        1.      I am Deputy General Counsel to the New York State Office of the Attorney General

 (OAG), Defendant in the above-captioned miscellaneous action and respondent to the nonparty

 subpoena dated July 7, 2022 (the Subpoena) served by Movant Cuomo in the case entitled Trooper

 1 v. New York State Police, et al., No. 22-cv-00893 (LDH) (TAM) (the Trooper 1 Action).

        2.      I submit this declaration, based on my personal knowledge and my review of

 records in the possession of OAG as well as publicly available records, in support of Defendant

 OAG’s Cross-Motion to Quash the Subpoena and Opposition to Movant Cuomo’s Motion to

 Compel.

        3.      In March 2021, I was personally involved in OAG’s process to appoint and engage

 private attorneys as Special Deputies and Assistants of OAG to conduct an inquiry into allegations

 of, and circumstances surrounding, sexual harassment claims made against then-governor Cuomo

 pursuant to New York Executive Law § 63(8) (the Investigation). I was one of the attorneys at

 OAG to whom the appointees reported during the Investigation. After the Investigation concluded,

 I was personally involved in the review and redaction process of witness testimony and exhibits
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 2 of 19 PageID #: 50




 thereto for public release. Also, after the Investigation concluded, I was personally involved in

 OAG’s cooperation with a number of other government investigations relating to former governor

 Cuomo, including by providing certain materials from the Investigation, without waiving privilege

 or confidentiality attaching thereto, that were requested by other government entities.

        New York Executive Law § 63(8) Referral to OAG

        4.      By letter dated March 1, 2021, the Office of then-governor Andrew M. Cuomo,

 made a referral to OAG “pursuant to New York Executive Law § 63(8) for OAG to select an

 independent law firm to conduct an inquiry into allegations of and circumstances surrounding

 sexual harassment claims made against the Governor.” A true and correct copy of the March 1,

 2021 letter (the Referral Letter) is attached hereto as Exhibit 1.

        5.      The Referral Letter acknowledged “that nothing in this letter is intended to

 constrain or limit the powers inherent in Executive Law § 63(8).” Id.

        6.      Upon referral, Executive Law § 63(8) provides OAG with the power to conduct an

 inquiry, and at OAG’s discretion, appoint “deputies, officers and other persons” who are not

 employed by the government, to inquire into matters “concerning the public peace, public safety

 and public justice” and empowers such appointees to issue and compel subpoenas for testimony

 and documents in furtherance of a § 63(8) inquiry. N.Y. Exec. Law § 63(8).

        7.      Executive Law § 63(8) generally requires appointees, if any, to report on a weekly

 basis to OAG with a duplicate copy to the Office of the Governor. Id.

        8.      However, the Referral Letter granting OAG the power to investigate allegations of

 sexual harassment and surrounding circumstances against then-governor Cuomo directed that

 “[d]ue to the nature of the review…the weekly reports contemplated by Executive Law § 63(8)

 will not be approved by or transmitted to the Executive,” meaning that the weekly reports generally



                                                   2
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 3 of 19 PageID #: 51




 required by Executive Law § 63(8) were to be submitted exclusively to OAG for the Investigation.

 See Ex. 1.

        9.       In a press conference on March 3, 2021, referring to the allegations of sexual

 harassment against him, Cuomo stated:

        “I ask the people of this State to wait for the facts from the Attorney General’s report before
        forming an opinion. Get the facts please before forming an opinion and the Attorney
        General is doing that review. I will fully cooperate with it and then you will have the facts
        and make a decision when you know the facts.” A true and correct copy of the Governor’s
        Office March 3, 2021 Email Press Release containing transcription of a portion of the press
        conference is attached hereto as Exhibit 2. Video footage of the entire press conference is
        available at https://www.c-span.org/video/?509520-1/york-governor-cuomo-apologizes-
        actions-resign (last accessed Nov. 8, 2022).

        10.      In that same press conference on March, 3, 2021, in response to questions about

 whether Cuomo planned to “step aside” and/or resign, Cuomo stated:

        -     “I am going to cooperate with the Attorney General’s investigation.” Id. at mark 29:52.

        -     “I am not going to resign.” Id. at mark 33:32.

        -     “The facts will come out in the Attorney General’s review.” Id. at mark 35:05.

        -     “Let the Attorney General do a review and let’s get the facts. That’s what I said in my
              statement to New Yorkers…Wait for the facts before you form an opinion…Let the
              Attorney General’s Office actually review the facts.” Id. at mark 37:32.

        11.      In a press conference on March 7, 2021, Cuomo stated:

        -     “So, we have the Attorney General who’s doing an independent review. She has all the
              allegations, anybody can make an allegation to her, and let the Attorney General do her
              job. She’s very good, she’s very competent, and that will be due process and then we'll
              have the facts. That’s why Senator Schumer said let the Attorney General do her
              investigation, Senator Gillibrand said let the Attorney General do her investigation,
              Congressman Jeffries said let the Attorney General do her investigation, the White
              House Spokesperson said let the Attorney General do the investigation, because that’s
              democracy. So no, there is no way I resign. Let’s do the Attorney General investigation,
              let’s get the findings, and then we’ll go from there.”

        A true and correct copy of the Governor’s Office’s March 7, 2021 Email Press Release

 containing transcription of a portion of the press conference is attached hereto as Exhibit 3.


                                                   3
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 4 of 19 PageID #: 52




        12.     Beginning on March 8, 2021, pursuant to Executive Law § 63(8) and the Referral

 Letter, OAG began appointing a team of private attorneys to investigate and report on allegations

 of, and circumstances surrounding, sexual harassment by Governor Andrew Cuomo (the

 Investigative Team). The Investigative Team consisted of four Special Deputies and eight Special

 Assistants from Cleary Gottlieb Steen & Hamilton LLP (Joon Kim, Jennifer Kennedy Park, Abena

 Mainoo, Rahul Mukhi, Andrew Weaver, Avion Tai, Soo Jee Lee, Lorena Michelen, Ye Eun

 (Charlotte) Chun, Hyatt Mustefa, Lilianna Rembar, and Nikkisha Z. Scott) and two Special

 Deputies and two Special Assistants from Vladeck, Raskin & Clark, P.C. (Anne Clark, Yannick

 Grant, Ezra Cukor, and Emily Miller).

        13.     During the terms of their appointments, attorneys on the Investigative Team were

 deemed to be part of OAG. As set forth in their appointment letters, the members of the

 Investigative Team were limited to using their authority under Executive Law § 63(8) “exclusively

 for the benefit of the OAG and the People of the State of New York” and were obligated to keep

 all information obtained in the course of the Investigation confidential notwithstanding their

 mandate to produce a public report at the close of the Investigation. True and correct copies of

 Kim and Clark’s March 8, 2021 appointment letters are attached hereto as Exhibit 4. The

 appointment letters for each member of the Investigative Team contained the same substantive

 authority and direction.

        14.     Pursuant to and consistent with the Executive Law § 63(8) appointments, OAG

 retained the law firms associated with the appointees: Cleary Gottlieb Steen & Hamilton LLP and

 Vladeck, Raskin & Clark, P.C. The firms were engaged “to provide investigation and legal services

 by assisting the [OAG] in its review of allegations of, and circumstances surrounding, sexual

 harassment against Governor Andrew Cuomo” and “produce a public report with their findings



                                                4
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 5 of 19 PageID #: 53




 and conclusions.” While as a general matter, the Office of the Governor and OAG could both have

 an attorney-client relationship with Executive Law § 63(8) appointees (in addition to the attorney-

 client relationship between OAG and the Office of the Governor), due to the nature of this

 Executive Law § 63(8) investigation and the governor himself being the subject of the

 investigation, the engagements established the firms as outside counsel to OAG as the exclusive

 client and OAG did not act in an attorney-client capacity with respect to the Office of the Governor

 for purposes of the Investigation. The engagements authorized the firms to utilize any of their

 resources as they deemed appropriate to carry out the engaged services. True and correct copies of

 the engagement letters are attached hereto as Exhibit 5.

        15.     Kim and Clark led an independent investigation beginning on March 8, 2021 into

 allegations of, and circumstances surrounding, sexual harassment by then-governor Cuomo. The

 Investigative Team made all substantive decisions regarding how to conduct the investigation, as

 well as all decisions regarding the analysis and conclusions reached in the Report, independently.

 See Declaration of Ye Eun Charlotte Chun dated November 8, 2022 (“Chun Decl.”) ¶ 5.

        16.     The Investigative Team closed the Investigation with a public report (the Report)

 and three appendices (containing 111 exhibits) released on August 3, 2021, which concluded “that

 the Governor, on multiple occasions, engaged in conduct and conversations that were offensive

 and sexual in nature that constituted sex-based harassment.” Report at pg. 142. A true and correct

 copy of the Report and accompanying appendices are available at: https://ag.ny.gov/press-

 release/2021/independent-investigators-find-governor-cuomo-sexually-harassed-multiple-women

 (last accessed Nov. 8, 2022). During the course of the Investigation, the Special Deputies

 interviewed 179 individuals, and took testimony under oath from 41 of them and received over

 74,000 documents. Chun Decl. ¶ 3.



                                                  5
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 6 of 19 PageID #: 54




        17.     As part of the periodic reporting to OAG required by Executive Law § 63(8), the

 Investigative Team consulted with OAG on issues relating to OAG’s powers, practices and

 procedures as they arose in the context of the investigation. Examples of such issues ranged from

 investigative procedures, protocols, timing and techniques to the interpretation and potential

 application of various laws.

        18.     During the course of the Investigation, the Investigative Team reported to OAG

 that Cuomo and the Executive Chamber (part of the office of the Governor) resisted and challenged

 various aspects of the Investigation, including making what the Investigative Team viewed as

 unjustified assertions of privilege, questioning the scope of certain requests, and claiming access

 to investigative material to which the Investigative Team did not believe they had a right to access.

 Moreover, evidence gathered during the Investigation indicated that Cuomo and members of the

 Executive Chamber planned from early in the Investigation to try to undermine the Investigation’s

 findings by attacking members of the Investigative Team and the OAG. Based on this information,

 OAG anticipated that litigation or other judicial proceedings initiated by Cuomo or others aligned

 with him were likely to result if the Investigation yielded any negative results for Cuomo or the

 Executive Chamber. See Chun Decl. ¶ 4.

        19.     Counsel for the Executive Chamber and Cuomo were notified during the

 Investigation that the legal provisions pursuant to which testimony was taken (§ 63(8) and N.Y.

 Civil Rights Law § 73) do not entitle witnesses to access their testimony and that it is against OAG

 practice to provide witnesses access to their testimony apart from access granted to the public, if

 any. Chun Decl. ¶ 4.

        The Special Deputies collected and created voluminous materials replete with

 privileged, confidential and private information



                                                  6
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 7 of 19 PageID #: 55




        20.      The material collected by the Investigative Team is voluminous, consisting of

 information from 179 witnesses and over 74,000 documents. As set forth in the Cleary Declaration,

 this material contains highly sensitive and confidential information. Chun Decl. ¶ 3, 8. Materials

 collected and created in connection with the Investigation include the following categories of

 materials:

        •     Subpoenas;

        •     Investigation Documents and Testimony: approximately 74,000 documents collected
              in response to subpoenas and informal requests and testimony for 41-on-the-record
              witnesses;

        •     Attorney Work Product: notes, draft documents, and memoranda, including
              memoranda memorializing witness interviews and identifying related investigative
              information and next steps, case management materials, trackers and schedules;

        •     External Correspondence: communications between the Investigative Team and
              witnesses and/or their counsel;

        •     Government Investigator Material: correspondence and document productions between
              OAG/retained counsel and other governmental entities conducting overlapping
              investigations; and,

        •     Internal Correspondence: communications internal to the retained firms,
              communications internal to OAG employees, and communications between the firms
              and OAG employees, including weekly reports pursuant to § 63(8).

        See also Chun Decl. ¶¶ 8, 12.


        OAG shares certain materials collected by Investigative Team with the Assembly

 Judiciary Committee in connection with open Impeachment Investigation

        21.      On August 6, 2021, counsel to the Judiciary Committee of the New York State

 Assembly (the AJC) requested investigative materials from OAG in connection with the

 Assembly’s open Impeachment Investigation concerning then-governor Cuomo, and on August 7,




                                                 7
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 8 of 19 PageID #: 56




 2021, OAG started providing certain materials collected by the Investigative Team to the AJC

 subject to the following terms:

        “The OAG, the Judiciary Committee of the New York State Assembly, the New York State
        Assembly, and Impeachment Counsel (the lawyers of the law firm Davis Polk & Wardell
        LLP that have been retained by the New York State Assembly to conduct an impeachment
        investigation into allegations against Governor Andrew Cuomo) (collectively the “New
        York State Assembly parties”) agree that it is in the public interest that the OAG provide
        the New York State Assembly parties with materials collected by the Independent
        Investigators in connection with the August 3, 2021 Report of Investigation Into
        Allegations of Sexual Harassment by Governor Andrew M. Cuomo . . . The New York State
        Assembly parties agree that in maintaining or disclosing any of the provided materials, it
        will endeavor to do so in a manner that protects any privileges attaching to such materials,
        and which is in furtherance of our shared duty to protect the public interest. Finally, OAG
        and the New York State Assembly parties confirm their understanding that by providing
        these materials or other information, OAG is not waiving confidentiality or privilege with
        respect to any other materials or information or aspects of OAG investigations.”

        OAG’s public release of transcripts and exhibits from the Investigation

        22.     OAG decided, in furtherance of public interest, to publish witness testimony and

 related exhibits (all of which were materials collected – not created – by the Investigative Team)

 from the Investigation in redacted form. OAG limited public release to these materials in redacted

 form to protect the privacy interests of individual witnesses as well as, relatedly, the integrity and

 privilege of OAG’s investigative protocols and techniques.

        23.     In anticipation of publishing these materials, on/about August 4, 2021, the

 Investigative Team started to review for redaction witness testimony and exhibits shown to

 witnesses during their testimony, which contained confidential and sensitive information of the

 types described in paragraph 8 of the Chun Declaration. Due to the time and resource intensive

 nature of the review, OAG anticipated publishing materials on a rolling basis; however, OAG

 temporarily refrained from publicly releasing additional materials in response to requests from

 several law enforcement entities as explained more fully below.




                                                   8
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 9 of 19 PageID #: 57




        24.     Following the release of the Report, between August 3, 2021 and August 9, 2021,

 District Attorneys from Albany, New York, Westchester, Nassau, and Oswego counties (the Five

 DAs) requested OAG’s cooperation in providing certain investigative materials to their offices.

        25.     On/about August 15, 2021, OAG began providing certain requested materials to the

 Five DAs subject to the following terms:

        “The OAG and District Attorneys for Albany, Nassau, New York, Oswego, and
        Westchester Counties (collectively the “Five DAs”) agree that it is in the public interest
        that the OAG provide the Five DAs with certain materials collected by the Independent
        Investigators in connection with the August 3, 2021 Report of Investigation Into
        Allegations of Sexual Harassment by Governor Andrew M. Cuomo . . . The Five DAs agree
        that in maintaining or disclosing any of the provided materials, they will endeavor to do so
        in manner that protects any privileges attaching to such materials, and which is in
        furtherance of our shared duty to protect the public interest, including protecting the
        integrity of OAG’s investigations. Finally, OAG and the Five DAs confirm their
        understanding that by providing these materials or other information, OAG is not waiving
        confidentiality or privilege with respect to any other materials or information or aspects of
        OAG investigations.”

        26.     On/about August 24, 2021, OAG began providing certain requested materials to the

 Albany County Sherriff’s Office subject to the material terms set forth above in paragraph 25.

        27.     Between August 18 and August 23, 2021, District Attorneys from Nassau, Oswego,

 Westchester and Albany counties formally requested OAG refrain from publicly releasing

 underlying evidence from the Investigation while the District Attorneys Offices’ review and

 investigations into former governor Cuomo were in preliminary stages.

        28.     In response to requests from the District Attorneys from Nassau, Oswego,

 Westchester and Albany, OAG agreed to temporarily refrain from publicly releasing testimony

 and exhibits in redacted form.

        29.     After learning that the Albany District Attorney was in the process of providing

 certain materials, including testimony and exhibits, from the Investigation to Defendant Cuomo as

 part of the criminal discovery process, on/about November 10, 2021, OAG, in consultation with


                                                 9
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 10 of 19 PageID #: 58




  other law enforcement entities, including the Albany County District Attorney, determined it was

  appropriate to proceed with its public release of witness testimony and related exhibits in redacted

  form as previously planned.

         30.      The testimony and exhibits collected by the Investigative Team that are available

  on OAG’s website include, in redacted form: testimony transcripts for 41 on-the-record witnesses

  and video or audio recordings of testimony from 23 of those witnesses as well as approximately

  1,000 documents collected by the Investigative Team, which constitute exhibits to the Report or

  exhibits to on-the-record testimony. True and correct copies of these materials are available at

  https://ag.ny.gov/CuomoIndependentInvestigation (last accessed Nov. 8, 2022).

         31.      As set forth in the Chun Declaration, for purposes of providing public access to

  testimony and testimony exhibits from the Investigation, Cleary undertook the review and

  redaction of transcripts for the 41 on-the-record witnesses, exhibits to each transcript

  (approximately 1,000 documents of the 74,000 documents collected by the Investigative Team),

  and video or audio files of the recorded testimony for 23 of the on-the-record witnesses. This

  process took the Investigative Team over 3,600 hours (at taxpayer expense) to complete. Chun

  Decl. ¶¶8-10.

         32.      OAG started making testimony and related exhibits publicly available on its

  website on November 10, 2021 and continued publishing them on a rolling basis as the review and

  redaction of each item was completed. A true and correct copy of the OAG press release

  announcing the rolling release of transcripts and exhibits and providing links to the material

  released is available at https://ag.ny.gov/press-release/2021/transcripts-and-exhibits-independent-

  investigation-sexual-harassment-allegations; see also Chun Decl. ¶ 7.




                                                  10
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 11 of 19 PageID #: 59




         33.     Based on my review of the Trooper 1 Amended Complaint (attached hereto as

  Exhibit 6) and the materials available on OAG’s website set forth above in paragraph 32, the

  quotations in the Amended Complaint appear to be almost entirely attributable to testimony or

  exhibits on OAG’s website. Attached hereto as Exhibit 7 is a chart prepared by OAG reflecting

  quotations in the Amended Complaint attributable to testimony or exhibits available on OAG’s

  website, as well as two quotations attributable to the Report.

         OAG balances public interest in transparency with public interest in law enforcement

  privilege and protection of individual privacy

         34.     A cornerstone of OAG’s civil and criminal investigations is the ability to protect

  the private, personal and confidential information of witnesses or other private individuals

  collected in the course of an investigation. While OAG has broad subpoena power, voluntary

  cooperation from witnesses, complainants, victims, and whistleblowers is essential to OAG

  investigations. It is extremely common for witnesses to be reluctant to share information with

  OAG attorneys and investigators out of fear that private information about them will become

  public resulting in negative consequences for them or their family or out of fear that the

  information will be shared with the subject of an investigation who will then retaliate against the

  witness. OAG has a policy of respecting and protecting witness privacy and confidentiality to the

  greatest extent possible, consistent with conducting a thorough investigation and complying with

  all applicable legal requirements. This means that OAG protocol does not permit sharing private,

  personal or confidential information collected in an investigation beyond what is necessary for

  legitimate law enforcement business or is legally required (for example, certain materials must be

  disclosed to a defendant in criminal proceedings). OAG also takes witness requests for anonymity

  very seriously; when a witness’s identity is not material to OAG’s investigative findings, OAG



                                                  11
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 12 of 19 PageID #: 60




  will honor that witness’s request to remain anonymous to the greatest extent permitted by law.

  OAG regularly assures reluctant witnesses that it will take steps to protect their privacy,

  confidentiality, and even identities to the greatest extent possible consistent with carrying out

  OAG’s constitutional and statutory functions and to the extent permitted by law.

         35.     As set forth in the Chun Declaration, the Investigative Team’s files are replete with

  highly sensitive and confidential information pertaining to witnesses as well as their family

  members and other individuals. Chun Decl. ¶ 8.

         36.     It is against OAG protocol, and would seriously undermine OAG’s future

  investigative efforts, for OAG to make public, or provide to the subject of a prior investigation,

  the types of information set forth in paragraph 8 of the Chun Declaration. If OAG does not protect

  these types of materials from public release, or release to a subject of investigation (including one

  with a history of publicly releasing materials like Cuomo), OAG jeopardizes its ability to collect

  complete and sensitive information in future investigations. Releasing this type of information,

  especially when not necessary for the public to understand the bases for the findings and

  conclusions of an investigation, would serve to undermine OAG’s credibility with complainants,

  victims, and witnesses of illegal activity whom OAG relies on to voluntarily come forward and

  cooperate in OAG investigations.

         37.     In addition, as set forth in paragraph 11 of the Chun Declaration, there are over 100

  witnesses whose identities are not otherwise known to the public, including a number of non-

  public on-the-record witnesses, many of whom expressed credible fears of retaliation and were

  hesitant to cooperate with the Investigation for this reason. Many witnesses who cooperated with

  the Investigation requested that their identity and cooperation be protected, and they might not

  have cooperated as fully had they believed their identities, the substance of their information,



                                                   12
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 13 of 19 PageID #: 61




  and/or the documents they produced would be provided to the former Governor, former members

  of the Executive Chamber, or their counsel. It is against OAG protocol and counter to OAG’s

  future investigative efforts to release information from and about these individuals, including their

  identities, because (1) to the extent not included in the Report or already published investigative

  materials, this information is not material to the findings or conclusions of the Investigation; (2)

  exposing the identities of and information provided by these witnesses would contradict assurances

  provided to these witnesses; (3) these witnesses (and others referenced by them) are likely to suffer

  negative consequences, including embarrassment, from having their participation made public and

  known to Cuomo; and (4) OAG reasonably anticipates it will discourage potential future

  complainants, victims, and witnesses from cooperating with OAG investigations out of concern

  that their private, personal and sensitive information will become public.

         38.     OAG has consistently maintained the position that witnesses from the Investigation

  and their counsel, including complainants and former-governor Cuomo, are not entitled to copies

  of their testimony. Witnesses may only obtain copies of their testimony in redacted form on OAG’s

  website just like any other member of the public.

         Additional government investigations implicating nonpublic information collected by

  the Investigative Team may remain open and ongoing

         39.     In addition to sharing certain information from the Investigation with the 5 DAs,

  Albany Sherriff, and the AJC, as set forth above in paragraphs 21, 25, and 26, OAG has provided

  certain materials from the Investigation in connection with additional government investigations,

  subject to the same material terms set forth above in paragraph 25 governing the sharing of

  materials with law enforcement entities. OAG is aware of one or more ongoing investigations,

  which may not be known to the public, and which relate to nonpublic information collected by the



                                                   13
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 14 of 19 PageID #: 62




  Investigative Team. OAG is prepared to provide additional information about these other

  investigations in an ex parte letter to the Court upon request.

         Only a handful of documents collected by the Investigative Team reference Trooper

  1

         40.     As set forth in paragraph 13 of the Chun Declaration, the Investigative Team ran

  searches across all of the documents they received over the course of the Investigation for materials

  specific to Trooper #1. Those searches identified only four documents that reference Trooper #1.

  Given the relatively minor burden involved in redacting these four documents, OAG is willing to

  voluntarily provide these documents to the Movant, as set forth in OAG’s Responses and

  Objections dated August 12, 2022, a true and correct copy of which are attached hereto as

  Exhibit 8.

         Movant’s history of criticizing the Investigation attacking cooperating witnesses, and

  calling for additional access to OAG documents related to the Investigation

         41.     Throughout the Investigation and since, the Investigative Team learned of multiple

  efforts by Movant’s advisors to obtain negative information about Investigative Team members

  and women who had accused then-governor Cuomo of misconduct. See Chun Decl. ¶ 4.

         42.     By letter to the Chair of the AJC dated September 13, 2021, Movant’s counsel

  attacked the Investigation, Report, Kim and Clark, as well as several of the women who accused

  Movant of sexual harassment. The letter included a detailed personal attack on Charlotte Bennett’s

  “credibility,” based on an anonymous and unverified allegation that she “falsely” accused a fellow

  student of sexual assault while she was a student at Hamilton College. See Cuomo v. The New

  York State Assembly Judiciary Committee, 1:22-mc-00279 (E.D.N.Y.) (LDH)(TAM) Dkt. No. 16-

  11.



                                                   14
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 15 of 19 PageID #: 63




         43.      Independent of the subpoena he served on OAG in the Trooper 1 Action, Movant

  has sought access, and/or criticized OAG for not providing additional access, to materials from the

  Investigation on over a dozen occasions, including the following:

         •     Attached hereto as Exhibit 9 is a true and correct copy of a letter sent to OAG on August
               4, 2021, one day after the issuance of the Report, from counsel to the Executive
               Chamber (part of the office of the Governor). In the letter, counsel to the Executive
               Chamber attacks the Report, largely based on purportedly negative information about
               and attacks on Kim and Clark, and also complains about their client’s lack of access to
               underlying materials from the Investigation.

         •     On August 6, 2021, at a government press conference challenging the Report, Movant’s
               counsel stated: “We do not have the underlying evidence. That has not been provided
               to us from that report. We have not had a chance to examine the transcripts or even
               memos of interview of the 179 people that the Attorney General interviewed . . . What
               we have asked for and are entitled to is the evidence. We are entitled to get the
               transcripts, the underlying documents that support that report.” Video of the press
               conference is available at https://www.youtube.com/watch?v=FP6_KMVBnNk (last
               accessed Nov. 8, 2022); see video at mark 1:48; 22:50.

         •     On August 7, 2021, during an appearance on CNN, Movant’s counsel called the report
               “shoddy” and “biased” and stated, “they haven’t shared all of their evidence.” Video
               interview available at https://www.cnn.com/videos/politics/2021/08/07/rita-glavin-
               attorney-ny-governor-andrew-cuomo-accusers-bts-nr-vpx.cnn (last accessed Nov. 8,
               2022); see video at mark 4:10.

         •     On August 9, 2021, during an appearance on MSNBC, Movant’s counsel disputed the
               Report and stated “the attorney general is not giving the governor or me access to
               [evidence]. I have asked the Attorney General for access to evidence such as the
               testimony…it is really important that I get access to it.” Video interview available at
               https://www.youtube.com/watch?v=hNgx0fKG3-Q (last accessed Nov. 8, 2022); see
               video at mark 3:40-4:10.

         •     Also on August 9, 2021 during an appearance on CNN, Movant’s counsel criticized
               the Report and stated “the governor should be allowed the opportunity to see that
               evidence and do a fulsome submission” to the Assembly in connection with the
               impeachment         inquiry.         Video       interview    available         at
               https://www.facebook.com/cnn/videos/1277181886064430/?extid=SEO----         ((last
               accessed Nov. 8, 2022); see video at mark 1:58-2:04.

         •     On August 10, 2021, during a government press conference, Movant’s counsel
               criticized Kim, Clark and the Report and stated “the investigators have not provided
               me, the lawyer for the governor, who is being asked to give a submission to the
               Assembly, a single transcript to allow him to respond. They haven’t even given him
               his     own.”    Video     of     the    press    conference    is    available   at

                                                    15
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 16 of 19 PageID #: 64




           https://www.youtube.com/watch?v=otxfPhSoBkc&t=1s (last accessed Nov. 8, 2022);
           see video at mark 36:38-39:25.

       •   On August 20, 2021, at a virtual briefing, Movant’s counsel stated, “I still haven’t been
           given access to the evidence. There are 79,000 documents that were gathered, there are
           179 interviews conducted including 41 transcribed and 138 for which I assume there
           are memos . . . I have not been given access to any of that material despite having made
           requests to the Assembly Judiciary Committee and to the Attorney General. I will
           renew those requests as I attempt to put forward a full submission on the governor’s
           behalf.” See Gov. Cuomo’s outside counsel requests corrections to sexual harassment
           report released by NY Attorney General (Aug. 20, 2021), available at
           https://www.wgrz.com/article/news/local/gov-cuomos-outside-counsel-requests-
           corrections-to-sexual-harassment-report-released-by-ny-attorney-general/71-
           00ef5243-493d-4830-8f71-73e4aeee52e9 (last accessed Nov. 8, 2022); video
           recording            of          virtual         briefing           available          at
           https://www.youtube.com/watch?v=UpmviENazuA (see mark 3:25-4:00).

       •   On September 29, 2021, Movant’s campaign published a press release, publicly calling
           on the Attorney General to answer the following question, among others:

           “The Governor requested to record his own interview – why did you refuse that
           request? And why won’t you release the video tape of his own testimony to him or
           publicly? Why haven’t you given the evidence and transcripts that you allegedly used
           to reach your conclusions over to the Governor and those you named in the report so
           that they could properly defend themselves?” Cuomo Press Release (Sept. 29, 2021),
           available at https://www.andrewcuomo.com/news/new-yorkers-deserve-answers (last
           accessed Nov. 8, 2022).

       •   On October 20, 2021, Movant tweeted a link to his counsel’s submission to OAG,
           attacking Kim and Clark, and several of the women who accused Movant of sexual
           harassment, and claiming the Investigation and Report were not fair because, among
           other reasons, Movant was not “provided the materials underlying the Report despite
           repeated written requests for them, and was therefore deprived of the opportunity to
           adequately respond defense prior to his resignation.”            Tweet available at
           https://twitter.com/andrewcuomo/status/1450866007359332352?s=20&t=TmON1co9
           ny8QH0aT_L0kaA (last accessed Nov. 8, 2022); Cuomo submission to OAG available
           at
           https://www.andrewcuomo.com/sites/default/files/files/documents/2021.10.20Submis
           siontoAG.pdf (last accessed (Nov. 8, 2022) (generally and at p. 150.)

       •   On November 18, 2021, Movant tweeted a link to a letter submitted to OAG by his
           counsel, which requested OAG “provide [Movant] with immediate access to all of the
           underlying evidence (without redactions) of the Report, including all notes and
           memoranda concerning the more than 179 interviews your Office conducted, as well
           as the 74,000 documents your Office collected (as we have previously requested of you
           on numerous occasions and received no response).” Tweet available at
           https://twitter.com/andrewcuomo/status/1461444967315001354 (last accessed Nov. 8,

                                                16
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 17 of 19 PageID #: 65




           2022); public link to Movant’s counsel’s November 18, 2021 letter to OAG available
           at      https://www.andrewcuomo.com/sites/default/files/files/documents/2021-11-18-
           letter-to-ag-final.pdf (last accessed Nov. 8, 2022).

       •   Also on November 18, 2021, Movant’s counsel held a press conference announcing
           her November 18, 2021 letter to OAG, and, referring to the Attorney General, stated
           “She’s not given us access as we sit here today to all the evidence… I still don’t have
           all the evidence” while displaying a slide saying: “The Attorney General must
           immediately release all evidence to Governor Cuomo.” Video recording of the press
           conference is available at https://www.audacy.com/1010wins/news/state/cuomo-
           lawyer-ag-letitia-james-compromised-should-recuse-from-cuomo-probes(last
           accessed Nov. 8, 2022) at mark 23:48-23:53.

       •   On December 16, 2021, Movant’s counsel held a press conference calling for the
           evidence underlying the report and stating “The attorney general’s office has not
           responded to my written requests for all the evidentiary materials underlying the report
           and the fact that we don’t have access to the evidence, we don’t have access to the
           evidence underlying that report, that completely handicaps our ability to respond or
           defend against it.” Video recording of the press conference is available at
           https://vimeo.com/666520727 (last accessed Nov. 8, 2022) at mark 16:53-17:38.

       •   On January 13, 2022, Movant’s counsel held a two-hour-long live-streamed press
           conference attacking the Report, expressing frustration that her requests for evidence
           to OAG had been ignored, and stating “I wish we had all of [the AG’s evidence]. I
           wish the attorney general would give me everything, she won’t.” Video recording if the
           press conference is https://www.youtube.com/watch?v=QrZVv_XuR18 (last accessed
           Nov. 8, 2022); see at mark 1:12:23-1:12:30.

       •   On January 13, 2022, Movant’s counsel was interviewed on live television by Dan
           Abrams, where she challenged the Investigation and Report and questioned why OAG
           had not shared additional documents and interview memos with her.
           https://www.youtube.com/watch?v=A_6-Wav5frc&t=195s (last accessed Nov. 8,
           2022) at mark 8:12- 8:33.

       •   On February 10, 2022, in a livestreamed press conference, Movant’s counsel disputed
           the Report and challenged the fact that her requests for evidence from OAG had not
           been met several times, including stating, “She ignored our request and still does today,
           for all the evidentiary materials underlying the report. Why won’t she give me the
           evidence?”       Video recording of the press conference is available at
           https://vimeo.com/687956093 (last accessed Nov. 8, 2022); see at mark 5:31-5:39.

       •   During that same press conference on February 10, 2022, Movant’s counsel, announced
           that Movant would be personally making a complaint to the Attorney Grievance
           Committee of the State Supreme Court addressing what he believed to be serious ethics
           concerns regarding the Investigation, the Report and the manner in which transcripts
           from the Investigation were released publicly. Video recording of the press conference


                                                17
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 18 of 19 PageID #: 66




               is available at https://vimeo.com/687956093 (last accessed Nov. 8, 2022); see at mark
               32:43-33:50.

         •     On September 13, 2022, The New York Times published an article headlined, “Cuomo
               Files Ethics Complaint Against Letitia James,” which included a link to a 48-page
               document at https://www.nytimes.com/2022/09/13/nyregion/andrew-cuomo-letitia-
               james.html (last accessed Nov. 8, 2022) with subject line “Complaint by Former
               Governor Andrew M. Cuomo Against Attorney General Letitia James, Joon Kim, Esq.,
               and Anne Clark, Esq.” (“Ethics Complaint”). The Ethics Complaint criticizes the
               Investigation, the Report, Kim, Clark, several of the women who accused Movant of
               sexual harassment, and complains that OAG has not provided Movant the opportunity
               to scrutinize all of the evidence underlying the report. See Ethics Complaint at pp. 17-
               38, 41-42. At the time of the New York Times’ publication of the Ethics Complaint,
               OAG, Attorney General Letitia James, Joon Kim, and Anne Clark had not yet received
               or obtained a copy of the Ethics Complaint linked to in the article. To date, OAG,
               Attorney General Letitia James, Joon Kim and Anne Clark have not received a copy of
               the Ethics Complaint; the New York Times has been their sole source for reviewing
               the Ethics Complaint.

         44.      To date, OAG has not provided to Movant, or to anyone other than fellow

  government investigators, materials beyond what has been made publicly available on OAG’s

  website.

         Cuomo’s Nonparty Subpoena to OAG

         45.      On July 11, 2011, Movant served on OAG the Subpoena dated July 7, 2022. A true

  and correct copy of the Subpoena is attached hereto as Exhibit 10.

         46.      OAG timely objected to the Subpoena on July 25, 2022 and, after meeting and

  conferring, served additional responses and objections on August 12, 2022 and a categorical

  privilege log on August 15, 2022. Attached hereto as Exhibit 11 is a true and correct copy of

  OAG’s July 25, 2022 Initial Response and Objection. Attached hereto as Exhibit 12 is a categorical

  privilege log OAG provided to Movant on August 15, 2022.

         47.      Counsel to the parties met and conferred on August 4, 2022 and August 15, 2022.

         48.      During a phone call between counsel to the parties on August, 15, 2022, Cuomo’s

  counsel confirmed that the broad language of the Subpoena was intended to call for internal


                                                   18
Case 1:22-mc-03044-LDH-TAM Document 19 Filed 11/08/22 Page 19 of 19 PageID #: 67




  communications, including emails, between members of the Investigative Team concerning

  witness testimony, interviews, and documents collected in the Investigation.

            49.    The Subpoena also calls for internal OAG communications predating the March 1,

  2021 Referral as well as draft documents and reports from the Investigative Team to OAG. See

  Ex. 10.

            50.    In an attempt to resolve the Subpoena amicably and reasonably, OAG offered to

  voluntarily provide Cuomo with documents collected in the Investigation that mention Trooper 1

  by name, which are not already publicly available on OAG’s website. See Ex. 8.

            51.    Movant then determined the parties had reached an impasse based on (1) his view

  that he was entitled to materials concerning all 179 witnesses and all 74,000 documents collected

  regardless of whether they were connected to Trooper 1 and (2) his view that no materials

  connected to the Investigation, including internal OAG emails, internal notes and communications

  amongst members of the Investigative Team, and drafts of the Report were protected by any

  privileges.


            Executed on November 8, 2022


            /s/Serena Longley
            Serena Longley




                                                 19
